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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES
CONSOLIDATED LITIGATION

CIVIL ACTION NO.: 05-4182 "K"(2)
JUDGE DUVAL

MAG. WILKINSON

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PERTAINS TO: *

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LEVEE 07-4444 (Deruise v. Allstate) *

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JOINT MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

NOW INTO COURT, through undersigned counsel, comes the plaintiffs herein,
Jacqueline Deruise wife offand Raymond Deruise, and defendant herein, Allstate
insurance Company, who respectfully submit to this Court that all of their claims have been
settled and they desire for all of their claims against defendant, Allstate Insurance

Company, be withdrawn and/or dismissed, with prejudice, each party to bear its own costs.

#10420 , Lue G. LK #14408

Respectfully subm)

Gary M. Pénd§fgas

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